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                IN THE UNITED STATES DISTRICT COURT
               FOR THE WESTERN DISTRICT OF VIRGINIA
                         ABINGDON DIVISION

UNITED STATES OF AMERICA                        )
                                                )
                                                )     Case No. 1:12CR00044-004
                                                )
v.                                              )     OPINION AND ORDER
                                                )
MICHAEL W. DUNLAP,                              )     By: James P. Jones
                                                )     United States District Judge
                  Defendant.                    )

      Randy Ramseyer, Assistant United States Attorney, Abingdon, Virginia, for
United States; James M. Cagle, Charleston, West Virginia, and Steven D. Smith,
Blacksburg, Virginia, for Defendant.

       Defendant Michael W. Dunlap objects to an order by Magistrate Judge

Pamela Meade Sargent denying his motion to sever. For the reasons that follow, I

affirm the order of the magistrate judge.



                                            I

       Dunlap and the other defendants in this case are alleged to have participated

in a conspiracy to structure financial transactions so that certain defendants would

receive fraudulent kickbacks while other defendants would claim fraudulent tax

benefits.   The Superseding Indictment alleges that Dunlap made purchasing

decisions for coal mining businesses with which he was affiliated and caused the

ordering of supplies and equipment from co-defendant J.D. “Dot” McReynolds.
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The Superseding Indictment further alleges that McReynolds created inflated

invoices to disguise the fact that McReynolds was paying kickbacks to Dunlap.

The government alleges that Dunlap’s actions constituted travel fraud and wire

fraud in violation of 18 U.S.C.A. §§ 2, 2314, and 1343. The other four defendants

are alleged to have participated in a check-cashing scheme in which Dunlap did not

directly participate.   The other defendants are charged with evading currency

reporting requirements in violation of 31 U.S.C.A. § 3524. Dunlap is the only

defendant who is accused of accepting kickbacks for encouraging mines to

purchase supplies and equipment from McReynolds. The government alleges that

Dunlap’s actions and the actions of the other defendants were all done in

furtherance of the same conspiracy. Dunlap moved for separate trials, arguing that

the alleged check-cashing scheme and the alleged kickback scheme were two

separate and unrelated series of transactions, and that he would be prejudiced if he

were to be tried with the other defendants who are accused of participating in the

check-cashing scheme.

      Magistrate Judge Sargent found that the defendants were properly joined and

that Dunlap had not demonstrated the prejudice necessary to require severance.

Dunlap appeals that ruling, arguing that although all of the defendants are charged

with involvement in the same conspiracy, Dunlap’s alleged conduct is significantly

different from the conduct of which the other four defendants are accused. Dunlap


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argues that he will be prejudiced because the jury will be confused by the

presentation of evidence related to the other four defendants that, according to

Dunlap, is irrelevant to the crimes with which he is charged.



                                         II

      Under Rule 59(a), when a party objects to a nondispositive order of a

magistrate judge, I review the order to determine whether it is contrary to law or

clearly erroneous. Fed. R. Crim. P. 59(a). An order is clearly erroneous when

“although there is evidence to support it, the reviewing court on the entire evidence

is left with the definite and firm conviction that a mistake has been committed.”

Minyard Enters., Inc. v. Se. Chem. & Solvent Co., 184 F.3d 373, 380 (4th

Cir.1999) (internal quotation marks and citation omitted). An order is contrary to

law “when it fails to apply or misapplies relevant statutes, case law, or rules of

procedure.” United Mktg. Solutions, Inc. v. Fowler, No. 1:09–CV–1392–GBL–

TCB, 2011 WL 837112, at *2 (E.D. Va. Mar. 2, 2011) (internal quotation marks

and citation omitted).

      Rule 8(b) of the Federal Rules of Criminal Procedure permits the

government to charge multiple defendants in one indictment “if they are alleged to

have participated in the same act or transaction, or in the same series of acts or

transactions, constituting an offense or offenses.” Fed. R. Crim. P. 8(b). “Because


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of the prospect of duplicating witness testimony, impaneling additional jurors or

wasting limited judicial resources, joinder is the rule rather than the exception.”

United States v. Whyte, 460 F. App’x 236, 238 (4th Cir. 2012) (unpublished)

(citing United States v. Hawkins, 589 F.3d 694, 700 (4th Cir. 2009)). “‘[J]oinder is

highly favored in conspiracy cases, over and above the general disposition

[supporting] joinder for reasons of efficiency and judicial economy.’” United

States v. Dinkins, 691 F.3d 358, 368 (4th Cir. 2012) (quoting United States v.

Tedder, 801 F.2d 1437, 1450 (4th Cir.1986)). Nevertheless, the court may sever

the defendants’ trials if the joinder appears to prejudice a defendant. Fed. R. Crim.

P. 14(a).   A defendant seeking severance bears the burden of demonstrating

prejudice. United States v. Quinones, 378 F. App’x 349, 351 (4th Cir. 2010)

(unpublished). This burden is a heavy one: “when defendants properly have been

joined under Rule 8(b), a district court should grant a severance under Rule 14 only

if there is a serious risk that a joint trial would compromise a specific trial right of

one of the defendants, or prevent the jury from making a reliable judgment about

guilt or innocence.” Zafiro v. United States, 506 U.S. 534, 539 (1993). The

moving defendant must “establish that actual prejudice would result from a joint

trial . . . and not merely that a separate trial would offer[] a better chance of

acquittal.” United States v. Reavis, 48 F.3d 763, 767 (4th Cir.1995) (internal

quotation marks and citations omitted).


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      I do not find the magistrate judge's ruling declining to order separate trials to

be clearly erroneous or contrary to law. First, Dunlap was properly joined with the

other defendants under Rule 8(b) because the indictment sufficiently alleges that

the check-cashing scheme and the kickback scheme were part of a single

conspiracy and comprised one series of acts and transactions. Second, Dunlap has

not made the requisite showing of prejudice to warrant severance under Rule 14(a).

Dunlap points to no particular evidence that would prejudice him. Instead, he

makes general assertions about jury confusion and judicial inefficiency. These

arguments are insufficient to satisfy the high burden that a defendant seeking

severance must carry. Therefore, I affirm the order of the magistrate judge.



                                         III

      For these reasons, it is ORDERED that Defendant's Objections to Order

Denying Motion for Severance (ECF No. 134) are DENIED and the order of the

magistrate judge (ECF No. 120) is AFFIRMED.



                                               ENTER: January 2, 2013

                                               /s/ James P. Jones
                                               United States District Judge




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